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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

SMITH INTERNATIONAL, INC.          :
                                   :       CIVIL ACTION NO.
     v.                            :
                                   :       16-cv-0056
BAKER HUGHES INCORPORATED          :

                                   ORDER

           AND NOW, this 4th day of February, 2021, although this

case is ready for final disposition, the likelihood of a jury

trial in the near future is highly uncertain given the Covid-19

pandemic and the backlog it has created. Considering that

reality and given the availability of an experienced mediator,

it is hereby ORDERED that the Hon. Gregory M. Sleet (Ret.) of

JAMS is APPOINTED as the mediator in this case. Chief Judge

Sleet (Ret.) may set any terms and conditions that he determines

will be helpful in the mediation and shall report to the Court

ex parte from time to time concerning the status of mediation. 1

           It is further ORDERED that the action is STAYED until

further order of the Court.

           AND IT IS SO ORDERED.


.                                  /s/ Eduardo C. Robreno
                                   EDUARDO C. ROBRENO,    J.


1         This case is in a nearly identical procedural posture
as Baker Hughes Oilfield Operations LLC, v. Smith International,
Inc., Case No. 16-cv-1956 in the United States District Court
for the Southern District of Texas and involves the same parties
and related technology. After consultation with the sitting
judge in that case, the Honorable Gray H. Miller, Chief Judge
Sleet (Ret.) is authorized to mediate the two cases jointly at
his discretion.
